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                  UNITED STATES DISTRICT COURT                               FILED
                                                                      Scott L. Poff, Clerk
                  SOUTHERN DISTRICT OF GEORGIA                     United States District Court

                      STATESBORO DIVISION                      By casbell at 2:07 pm, Apr 11, 2017




UNITED STATES OF AMERICA,

V.
                                              CR616-010
KAYLA ESTELL RERICHA,

     Defendant.


                                 ORDER


     After a careful, de novo review of the file, the Court concurs

with the Magistrate Judge's Report and Recommendation, doc.

282, to which no objections have been filed. Accordingly, the

Report and        Recommendation      of the     Magistrate Judge is

ADOPTED as the opinion of the Court.

     SO ORDERED this              day of Apr!      117.


                                  LISA GODBEVUVDDD,CHIEF JUDOS
                                  UNITm STATES DISTRICT COURT
                                  SOiniHERN DISTRICT OF GEORGIA
